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 7   NAVAJO EXPRESS, INC.
 8                           UNITED STATES DISTRICT COURT
 9              CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
10
11   OBINNA OKWARA                                Case No. 2:22-cv-4053
12                             Plaintiff,         (Los Angeles Superior Court
                                                  Case Number: 22STCV08622)
13         v.
14   NAVAJO EXPRESS, INC.                         DEFENDANT’S NOTICE OF
                                                  REMOVAL PURSUANT TO 28 U.S.C.
15                             Defendant.         §§ 1332 AND 1441
16
17
18         TO THE COURT, AND TO PLAINTIFF OBINNA OKWARA AND HIS
19   ATTORNEYS OF RECORD:
20         PLEASE TAKE NOTICE that Defendant Navajo Express, Inc. (hereinafter
21   “Defendant”) hereby removes the above-entitled civil cation from the Superior Court of
22   California, County of Los Angeles, to the United States District Court for the Central
23   District of California, Western Division, pursuant to 28 U.S.C. sections 1332 and 1441.
24   Removal is proper because complete diversity of citizenship exists between Plaintiff
25   Obinna Okwara (hereinafter “Plaintiff”) on the one hand and Defendant on the other hand,
26   and the amount in controversy exceeds the sum of $75,000, exclusive of interest and costs.
27   In support of this notice of removal, Defendant further alleges and states the following:
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                  NOTICE OF REMOVAL PURSUANT TO 28 U.S.C. §§ 1332 AND 1441
